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                             IN THE UNITED STATES DISTRICT �OURT
                                 FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,
                                                   )   Case No.: 22-cr-148
                Plaintiff,                         )
                                                   )
vs.                                                )
                                                   )   �RDER
RILEY KASPER,                                      )

                Defendant.                         )


        Based upon the representations in the Defendant's Consent Motion to Continue Status

Conference and to Exclude Time Under the Speedy Trial Act, and upon consideration of the entire

record, the Court makes the following findings:

        In this case, an ends-of-justice continuance is warranted under 18 U.S.C. § 3161(h)(7)(A)

based on the considerations described in 18 U.S.C. § 3161(h)(7)(B)(i), (ii), and (iv). Due to the

interest by the parties in regards to discovery, the failure to grant such a continuance in this

proceeding would be likely result in a miscarriage of justice by foreclosing such resolution.

Accordingly, the ends of justice served by granting a request for a continuance outweigh the best

interest of the public and the defendant in a speedy trial.

       Therefore, it is this __�_day of

       ORDERED that the United States' Consent Motion to Continue and to Exclude Time
                                               � � l •• ._.�-, d 1-a."l o�••• >�
Under the Speedy Trial Act, is hereby GRANTED; it is furtner

       ORDERED that the time period from the date of this Order through and including the date

of the next hearing is hereby excluded from the computation of time within which trial must

commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
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